Case 1:21-cr-00670-CJN Document 86-2 Filed 06/27/22 Page 1 of 3




                        EXHIBIT 2
        Case 1:21-cr-00670-CJN Document 86-2 Filed 06/27/22 Page 2 of 3

                                                      U.S. Department of Justice

                                                      Matthew M. Graves
                                                      United States Attorney

                                                      District of Columbia


                                                      Patrick Henry Building
                                                      601 D St., N.W.
                                                      Washington, D.C. 20530


                                                      June 21, 2022

DELIVERY VIA EMAIL
David I. Schoen
2800 Zelda Road, Suite 100-6
Montgomery, Alabama 36106
dschoen593@aol.com; schoenlawfirm@gmail.com

Robert J. Costello
Davidoff Hutcher & Cirton LLP
605 Third Ave.
New York, NY 10158
rjc@dhclegal.com

M. Evan Corcoran
Silverman Thompson Slutkin White
201 N. Charles Street, 26th Floor
Baltimore, Maryland 21201
ecorcoran@silvermanthompson.com

       RE:      United States v. Stephen K. Bannon, 21-cr-670 (CJN)

Dear Counsel:

        We write in response to your letter of June 21, 2022, in which you request “all memoranda
and other writings, whether public or not, that reflect consideration of the contempt of Congress
referrals and decision(s) not to charge Mark Meadows and Dan Scavino with Contempt of
Congress.”

       To date, we have provided you with material that exceeds our obligations under the various
discovery rules and doctrines. In addition, we have provided you all material we understand to be
responsive to Judge Nichols’s March 16, 2022, Order relating to official Department policies. We
have nothing to provide in response to your June 21 request that is discoverable under either our
standard discovery obligations or Judge Nichols’s Order.

       Please do not hesitate to contact us with any questions.
Case 1:21-cr-00670-CJN Document 86-2 Filed 06/27/22 Page 3 of 3

                            Sincerely,

                            MATTHEW M. GRAVES
                            United States Attorney

                      By:   /s/ Amanda R. Vaughn
                            J.P. Cooney
                            Molly Gaston
                            Amanda R. Vaughn
                            Assistant United States Attorneys
                            United States Attorney’s Office
                            601 D Street NW
                            Washington, D.C. 20530
                            (202) 252-1793 (Vaughn)
                            amanda.vaughn@usdoj.gov




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